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                                                                                                SUGARFINA, INC.
                                                                                            7
                                                                                            8                         UNITED STATES DISTRICT COURT
                                                                                            9                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                           10
                                                                                           11   SUGARFINA, INC., a Delaware               Case No.: 2:17-cv-07950
                                                                                                corporation,
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                                                                                           12                                             COMPLAINT FOR TRADE DRESS
                                                            I R V I N E , C A 92614-2545




                                                                                                                Plaintiff,                INFRINGEMENT, FEDERAL AND
                          5 PAR K PLA ZA
                                           S U I T E 1400




                                                                                           13                                             COMMON LAW TRADEMARK
                                                                                                v.                                        INFRINGEMENT, FEDERAL
                                                                                           14                                             FALSE DESIGNATION OF ORIGIN
                                                                                                SWEITZER LLC, a New Jersey limited        AND UNFAIR COMPETITION,
                                                                                           15   liability company, and SWEITZER           PATENT INFRINGEMENT, AND
                                                                                                LAKEWOOD LLC, a New Jersey                FEDERAL COPYRIGHT
                                                                                           16   limited liability company,                INFRINGEMENT
                                                                                           17                   Defendants.
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                                                                                            1           Plaintiff Sugarfina, Inc. (“Sugarfina”) complains and alleges as follows
                                                                                            2   against Defendants Sweitzer LLC and Sweitzer Lakewood LLC (collectively,
                                                                                            3   “Sweitzer” or “Defendants”).
                                                                                            4                              NATURE OF THE ACTION
                                                                                            5           1.      Sugarfina revolutionized the candy industry when it was founded in
                                                                                            6   2012. Its founders, Joshua Resnick and Rosie O’Neill, dreamt of creating a luxury
                                                                                            7   boutique retailer of curated candies and sweets. The inspiration behind Sugarfina
                                                                                            8   sprouted during a screening of the original “Willy Wonka and the Chocolate
                                                                                            9   Factory” and the simple question: why should kids have all the fun?
                                                                                           10           2.      Since 2012, Mr. Resnick and Ms. O’Neill have traveled the world to
                                                                                           11   meet with artisan candy-makers and have taste-tested thousands of candies in their
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                                                                                           12   search to find the best of the best. Today, this experience has culminated in Sugarfina
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                                                                                           13   redefining confectioneries and the associated experience, including painstakingly
                                                                                           14   creating high quality, distinctive packaging for its redefined confectionaries. In the
                                                                                           15   years since its founding, Sugarfina has established itself as offering unique luxury
                                                                                           16   products to a highly engaged customer base.
                                                                                           17           3.      Sugarfina’s early efforts have now grown to a thriving business that
                                                                                           18   employs over 300 people and operates across various commercial channels,
                                                                                           19   including storefronts, e-commerce, wholesale, and corporate partnerships.
                                                                                           20           4.      Sugarfina’s retail channel focuses on building a footprint at high-end
                                                                                           21   luxury spaces. Currently, Sugarfina operates over twenty-three (23) retail boutiques,
                                                                                           22   with many additional storefronts planned throughout the globe. Sugarfina also
                                                                                           23   operates a series of “shop-in-shops” at over fourteen (14) Nordstrom’s locations in
                                                                                           24   the United States and Canada. Its wholesale channel caters to premium reseller
                                                                                           25   partners such as Bergdorf Goodman and the Four Seasons Hotels. Its corporate
                                                                                           26   channel caters to institutional clients seeking to personalize packaging or coordinate
                                                                                           27   events.
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                                                                                            1           5.     At present, Sugarfina’s distribution channels have been well
                                                                                            2   established and the Sugarfina brand itself has come to be uniquely synonymous with
                                                                                            3   luxury boutique candy. Although national and international expansion will continue,
                                                                                            4   Sugarfina has already become famous for its luxury items throughout the United
                                                                                            5   States and Canada.
                                                                                            6           6.     From inception, Sugarfina has cultivated unmistakable design
                                                                                            7   features in its products and packaging. These design features have been used
                                                                                            8   consistently throughout its course of business.
                                                                                            9           7.     Sugarfina currently has approximately 140 different lines of candy,
                                                                                           10   i.e., products, each presented in a revolutionary and sophisticated presentation and
                                                                                           11   packaging that evidences Sugarfina’s commitment to luxury and quality. Among
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                                                                                           12   the signature innovations of Sugarfina’s branding is its presentation of candy in
                                                            I R V I N E , C A 92614-2545
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                                                                                           13   museum-quality Lucite that emphasizes the artisanal and rarified quality of a
                                                                                           14   gourmet small-portion tasting experience. Because of its innovative packaging and
                                                                                           15   distinctive design, coupled with impeccable attention to the quality of its candy,
                                                                                           16   Sugarfina products continue to thrive.
                                                                                           17           8.     Sugarfina’s creative achievements have resulted in broad intellectual
                                                                                           18   property protection for Sugarfina’s innovations, including design patents, trademarks,
                                                                                           19   copyrights, and trade dress protection. Because of its success, Sugarfina’s
                                                                                           20   innovations have been the subject of emulation by its competitors, who have
                                                                                           21   attempted to capitalize on Sugarfina’s success by imitating Sugarfina’s innovative,
                                                                                           22   elegant, and distinctive products and packaging.
                                                                                           23           9.     One of these imitators is Sweitzer, which has introduced a line of
                                                                                           24   products to compete with Sugarfina products. Instead of pursuing independent
                                                                                           25   product development, Sweitzer has chosen not only to copy Sugarfina’s innovative,
                                                                                           26   distinctive, and elegant product and packaging design, but also to copy the types of
                                                                                           27   candy, and protectable names, offered by Sugarfina, in violation of Sugarfina’s
                                                                                           28   valuable intellectual property rights.

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                                                                                            1           10.      As alleged below, Sweitzer has made and packaged its candy to look
                                                                                            2   like Sugarfina’s products through widespread patent, trademark, copyright and
                                                                                            3   trade dress infringement.
                                                                                            4           11.      By this action, Sugarfina seeks to put a stop to Sweitzer’s illegal
                                                                                            5   conduct and obtain compensation for the violations that have occurred thus far.
                                                                                            6                                       THE PARTIES
                                                                                            7           12.      Plaintiff Sugarfina is a Delaware corporation having its principal
                                                                                            8   place of business at 3915 West 102nd Street, Inglewood, California 90303.
                                                                                            9           13.      Defendant Sweitzer LLC is a New Jersey limited liability company
                                                                                           10   with its principal office at 266 Cedar Bridge Avenue, Lakewood, NJ 08701.
                                                                                           11   Sugarfina is informed and believes that the sole member of Sweitzer is an
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                                                                                           12   individual named Shloime Friedman, who also has an address in Lakewood, New
                                                            I R V I N E , C A 92614-2545
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                                           S U I T E 1400




                                                                                           13   Jersey.
                                                                                           14           14.      Defendant Sweitzer Lakewood LLC is a New Jersey limited liability
                                                                                           15   company with its principal office at 266 Cedar Bridge Avenue, Lakewood, NJ
                                                                                           16   08701.
                                                                                           17                                      JURISDICTION
                                                                                           18           15.      This Court has subject matter jurisdiction under 15 U.S.C. § 1121
                                                                                           19   (action arising under the Lanham Act); 28 U.S.C. § 1331 (federal question); 28
                                                                                           20   U.S.C. § 1338(a) (any Act of Congress relating to patents, copyrights, or
                                                                                           21   trademarks); 28 U.S.C. § 1338(b) (action asserting claim of unfair competition
                                                                                           22   joined with a substantial and related claim under the trademark laws); 28 U.S.C.
                                                                                           23   § 1332(a)(1) (diversity jurisdiction); and 28 U.S.C. § 1367 (supplemental
                                                                                           24   jurisdiction).
                                                                                           25           16.      This Court has personal jurisdiction over Sweitzer because it has
                                                                                           26   committed and continues to commit acts of infringement in violation of 35 U.S.C.
                                                                                           27   § 271, 15 U.S.C. §§ 1114 and 1125, and 17 U.S.C. §§ 101 et seq., and places
                                                                                           28   infringing products into the stream of commerce, with the knowledge or

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                                                                                            1   understanding that such products are sold in the State of California, including in this
                                                                                            2   District. The acts by Sweitzer cause injury to Sugarfina within this District.
                                                                                            3           17.     Upon information and belief, Sweitzer also derives substantial
                                                                                            4   revenue from the sale of infringing products within this District, expects its actions to
                                                                                            5   have consequences within this District, and derives substantial revenue from
                                                                                            6   interstate and international commerce.
                                                                                            7                                           VENUE
                                                                                            8           18.     Venue is proper within this District under 28 U.S.C. §§ 1391(b) and
                                                                                            9   1367(a) because Sweitzer transacts business within this district and offers for sale in
                                                                                           10   this district products that infringe the Sugarfina trade dress and trademarks. In
                                                                                           11   addition, venue is proper because Sugarfina’s principal place of business is in this
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                                                                                           12   district and Sugarfina suffered harm in this district. Moreover, a substantial part of
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                                                                                           13   the events giving rise to the claim occurred in this district.
                                                                                           14                                      BACKGROUND
                                                                                           15                                   Sugarfina’s Innovations
                                                                                           16           19.     Sugarfina is a luxury candy boutique well recognized for its
                                                                                           17   distinctive products sold under the SUGARFINA® brand using novel and original
                                                                                           18   designs in its packaging. Sweitzer is well aware that Sugarfina is the owner of
                                                                                           19   numerous design patents, trademark registrations, and copyright registrations,
                                                                                           20   including the following (having received cease and desist letters dated May 22,
                                                                                           21   2017 and September 19, 2017).
                                                                                           22           •       U.S. Design Patent No. D755,641
                                                                                           23           •       U.S. Copyright Reg. No. VA0001963483
                                                                                           24           •       U.S. Copyright Reg. No. VA0001963482
                                                                                           25           20.     As a direct result of its innovative and distinctive design and
                                                                                           26   packaging, Sugarfina products have been a remarkable success, and their
                                                                                           27   packaging, colors, and presentation have immediately become uniquely associated
                                                                                           28   with Sugarfina as their source.

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                                                                                            1           21.      Sugarfina products, with its branded packaging, have been
                                                                                            2   extensively advertised throughout the United States to capitalize on the existing
                                                                                            3   distribution channels, including social media and internet marketing, with the vast
                                                                                            4   majority of the advertisements featuring photographs of the distinctive design of the
                                                                                            5   Sugarfina products.
                                                                                            6           22.      In addition, Sugarfina’s products have received unsolicited comment
                                                                                            7   and attention in print and social media throughout the world. Each new Sugarfina
                                                                                            8   product is the subject of positive commentary and receives unsolicited praise from
                                                                                            9   independent social commentators. Frequently, these unsolicited commentaries are
                                                                                           10   accompanied by images of various Sugarfina products, including their unique
                                                                                           11   packaging.
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                                                                                           12           23.      The Sugarfina product design has come to represent and symbolize
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                                                                                           13   the superb quality of Sugarfina’s products and enjoys substantial goodwill among
                                                                                           14   consumers.
                                                                                           15           24.      Sugarfina has received many awards for its signature designs and
                                                                                           16   innovations including, but not limited to, the Addy Gold award and the Chain Store
                                                                                           17   Age Breakout Retailer award.
                                                                                           18                                    Sugarfina’s IP Rights
                                                                                           19                                   Sugarfina’s Trademarks
                                                                                           20           25.      Sweitzer’s products are likely to confuse customers as Sweitzer sells
                                                                                           21   products with exact or near-exact replicas of Sugarfina’s marks, including the
                                                                                           22   following:
                                                                                           23                 • CANDY BENTO BOX®
                                                                                           24                 • CANDY CUBE™
                                                                                           25           26.      Sweitzer’s use of Sugarfina’s marks creates a high likelihood of
                                                                                           26   confusion, as Sweitzer alters virtually nothing about the marks and intentionally
                                                                                           27   imports the entire appearance, sound, and meaning of Sugarfina’s marks to profit
                                                                                           28   from the customer’s association of the marks with Sugarfina.

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                                                                                            1           27.    CANDY BENTO BOX®—attached as Exhibit 1 is a true and correct
                                                                                            2   copy of U.S. Registration No. 4,838,646. Sugarfina first used the CANDY BENTO
                                                                                            3   BOX® mark on November 23, 2013, and filed a trademark application for this
                                                                                            4   mark on January 15, 2015. On information and belief, Sweitzer began using the
                                                                                            5   same mark on identical packaging after Sugarfina’s first commercial use.
                                                                                            6           28.   The key portions of the protected mark CANDY BENTO BOX® is
                                                                                            7   used on Sweitzer’s product—i.e., with the same appearance and sound. Both
                                                                                            8   products are candy boxes in which a number of smaller CANDY CUBES™ are
                                                                                            9   nested within—i.e., with the same meaning.
                                                                                           10           29.    CANDY CUBE™—Sugarfina has common law trademark rights in
                                                                                           11   the CANDY CUBE™ mark. Sugarfina began selling and marketing its candy
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                                                                                           12   products under the CANDY CUBE™ mark long ago. On information and belief,
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                                                                                           13   Sweitzer began using the same mark on identical packaging after Sugarfina’s first
                                                                                           14   commercial use.
                                                                                           15           30.    The protected mark CANDY CUBE™ is used in its entirety on
                                                                                           16   Sweitzer’s product—i.e., with the same appearance and sound. Both products are
                                                                                           17   packaging for candies—i.e., with the same meaning. On both products, the mark is
                                                                                           18   used in connection with the clear cube nested within the patented and copyrighted
                                                                                           19   eight-cube or three-cube gift box, making the overall look and feel of Sweitzer’s
                                                                                           20   use of the mark similar to Sugarfina’s.
                                                                                           21                                  Sugarfina’s Trade Dress
                                                                                           22           31.    Sugarfina holds trade dress protection in the design and appearance
                                                                                           23   of all of its confectionaries’ offerings, together with their distinctive product
                                                                                           24   packaging.
                                                                                           25           32.    Sugarfina’s product packaging and presentation are radically
                                                                                           26   different from the candy stores that preceded it. It has a distinctive presentation and
                                                                                           27   appearance—a total image and overall appearance that is unique, including features
                                                                                           28   such as size, shape, color or color combinations, texture, graphics, and sales

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                                                                                            1   techniques. As shown below, the result is a luxury product that is accessible and
                                                                                            2   visually appealing to the ordinary observer. Sugarfina’s product design immediately
                                                                                            3   became closely associated with Sugarfina.
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                                                                                            8           33.    Each of these elements of the Sugarfina products is distinctive, non-

                                                                                            9   functional, and serves to identify Sugarfina as the source of its products.

                                                                                           10           34.    The following elements of Sugarfina’s product packaging designs

                                                                                           11   comprise the trade dress at issue in this case (the “Sugarfina Trade Dress”):
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                                                                                           12           •     a rectangular product package with minimal lettering;
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                                                                                                        •     the inside bottom surface of the product package dominated by a
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                                                                                           13
                                                                                           14   series of cube wells or trays;

                                                                                           15           •     the series of cube wells each being spaced from one another within

                                                                                           16   the product package; and

                                                                                           17           •     a series of clear cubes containing candy product that each reside in a

                                                                                           18   corresponding cube well and are immediately visible upon opening the box.

                                                                                           19           35.    Sweitzer has capitalized on Sugarfina’s distinctive, non-functional,

                                                                                           20   novel, and original designs that customers have come to associate with the high

                                                                                           21   quality and innovative candy products that Sugarfina offers.

                                                                                           22           36.    Sweitzer has purposely taken steps to increase Sweitzer’s similarity

                                                                                           23   to Sugarfina, and to encourage consumers to confuse the two brands so as to profit

                                                                                           24   from the goodwill Sugarfina has acquired through its careful and diligent

                                                                                           25   marketing.

                                                                                           26           37.    Moreover, Sugarfina’s trade dress is non-functional in that there

                                                                                           27   exist wide and varied ways to design a box that contains candy. As such, Sweitzer

                                                                                           28   is not unduly impeded from engaging in its own design and presentation of its

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                                                                                             1   products, so long as it does not steal from the Sugarfina Trade Dress.
                                                                                             2           38.    None of the claimed features of the Sugarfina Trade Dress, either
                                                                                             3   alone or in combination, are either essential to packaging candy or confer any
                                                                                             4   benefit to Sweitzer aside from enabling it to trade on Sugarfina’s reputation by
                                                                                             5   carefully imitating the look and feel of Sugarfina’s trade dress.
                                                                                             6           39.    Further, through Sugarfina’s extensive advertising and promotion, its
                                                                                             7   trade dress has been firmly established as having gained secondary meaning. As
                                                                                             8   mentioned above, consumers readily connect the defined trade dress exclusively
                                                                                             9   with Sugarfina and Sugarfina has even won awards for its innovative design.
                                                                                            10                                 Sugarfina’s Design Patent
                                                                                            11           40.    Sugarfina has protected its innovative designs and packaging through
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                                                                                            12   design patents issued by the United States Patent and Trademark Office. The
                                                            I R V I N E , C A 92614-2545
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                                                                                            13   Sugarfina design patents cover the many famous ornamental features of Sugarfina
                                                                                            14   candy, such as the spaced cube arrangement, the spaced cube receiving wells, and
                                                                                            15   the distinctive use of a box to hold the clear cubes.
                                                                                            16           41.    Among others, Sugarfina owns all right, title, and interest in and to
                                                                                            17   the asserted U.S. Design Pat. No. D755,641, titled “Packaging,” a true and correct
                                                                                            18   copy of which is attached as Exhibit 2.
                                                                                            19                                  Sugarfina’s Copyrights
                                                                                            20           42.    Sugarfina has protected its innovative designs and packaging through
                                                                                            21   copyrights registered with the United States Copyright Office. The Sugarfina
                                                                                            22   copyrights cover the same famous and original ornamental features of Sugarfina
                                                                                            23   candy packaging as the design patents, such as the spaced cube arrangement, the
                                                                                            24   spaced cube receiving wells, and the distinctive use of a box to hold the clear cubes.
                                                                                            25           43.    Sugarfina owns all right, title, and interest in and to each of the
                                                                                            26   following asserted copyrights, true and correct copies of which are attached as
                                                                                            27   Exhibits 3 and 4: Reg. Nos. VA0001963482 and VA0001963483.
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                                                                                             1                              Sweitzer’s Infringing Products
                                                                                             2           44.    Sweitzer has imported into or sold in the United States the following
                                                                                             3   products, each of which infringes one or more of Sugarfina’s Intellectual Property
                                                                                             4   Rights: “Candy Gift Box 8,” “Candy Gift Box 4” (also referred to as “Bento Box
                                                                                             5   4”) and “Candy Gift Box 3,” among others (collectively, the “Accused Products”).
                                                                                             6   Attached as Exhibit 5 is a true and correct copy of the Accused Products.
                                                                                             7           45.    Rather than innovate and develop its own packaging and unique style
                                                                                             8   for its candy products, Sweitzer chose to copy Sugarfina’s innovative style in these
                                                                                             9   infringing products.
                                                                                            10           46.    Sweitzer—much like any candy manufacturer—had many options in
                                                                                            11   developing and packaging its candy. Yet, Sweitzer deliberately chose to infringe on
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                                                                                            12   Sugarfina’s intellectual property without investing any of the resources or
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                                                                                            13   innovation required to develop a strong brand identity and intellectual property
                                                                                            14   portfolio. Sweitzer simply stands to reap all of the benefits of Sugarfina’s
                                                                                            15   investment and goodwill in the market.
                                                                                            16                          Infringement of Sugarfina’s Trade Dress
                                                                                            17           47.    Sugarfina is informed and believes that Sweitzer began producing,
                                                                                            18   selling, and marketing its copycat products after Sugarfina’s first use of the asserted
                                                                                            19   trade dress.
                                                                                            20   ///
                                                                                            21   ///
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                                                                                             1            Sugarfina’s Original Use            Sweitzer’s Infringing Use
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                                                                                            12           48.    Each of Sweitzer’s line of accused products embodies a combination
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                                                                                            13   of several elements of the Sugarfina Trade Dress identified above, namely, a
                                                                                            14   product configuration with a total image and overall appearance that is unique,
                                                                                            15   including features such as size, shape, color or color combinations, texture,
                                                                                            16   graphics, and sales techniques.
                                                                                            17           49.    Sweitzer’s systematic copying of the Sugarfina Trade Dress is likely
                                                                                            18   to cause customer confusion, or has actually caused customer confusion, as to an
                                                                                            19   affiliation with Sugarfina and/or an initial interest confusion based on Sugarfina’s
                                                                                            20   goodwill with the marketplace.
                                                                                            21                        Infringement of Sugarfina’s Trademarks
                                                                                            22           50.    In addition to copying the Sugarfina Trade Dress, Sweitzer has also
                                                                                            23   copied numerous products in which Sugarfina has valid trademark rights, as shown
                                                                                            24   below:
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                                                                                             1        a.     CANDY BENTO BOX®
                                                                                                  Sugarfina’s Original Use                   Sweitzer’s Infringing Use
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                                                                                             1          b.    CANDY CUBE™
                                                                                                      Sugarfina’s Original Use                   Sweitzer’s Infringing Use
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                                                                                                         51.    Sweitzer’s adoption of a trade dress that copies the Sugarfina Trade
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                                                                                                 Dress, particularly in combination with its use of various trade names that infringe
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                                                                                                 Sugarfina’s trademark rights, is likely to cause confusion or mistake, or to deceive
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                                                                                                 consumers, purchasers, and others into thinking that Sweitzer’s products are
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                                                                                             1   Sugarfina products, or that they are sponsored by or affiliated with Sugarfina, when
                                                                                             2   they are not.
                                                                                             3           52.     Sugarfina’s goodwill among consumers is closely tied to its position
                                                                                             4   as an outlier in confectioners’ products—that of luxury and sophistication.
                                                                                             5   Sweitzer’s flagrant and relentless copying of Sugarfina’s intellectual property rights
                                                                                             6   in its candy products not only allows Sweitzer to benefit from Sugarfina’s
                                                                                             7   investment, but it also threatens to diminish the very important goodwill that
                                                                                             8   Sugarfina has cultivated with its products.
                                                                                             9           53.     Sugarfina’s efforts to address Sweitzer’s pervasive copying of
                                                                                            10   Sugarfina’s innovations and intellectual property directly with Sweitzer have been
                                                                                            11   unsuccessful. On May 22, 2017, Sugarfina sent a cease and desist letter to Sweitzer
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                                                                                            12   advising it of its ongoing infringement of Sugarfina’s intellectual property. On
                                                            I R V I N E , C A 92614-2545
                          5 PAR K PLA ZA
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                                                                                            13   September 19, 2017, Sugarfina sent a follow-up cease and desist letter to Sweitzer
                                                                                            14   again demanding that Sweitzer cease its infringing activity. Sweitzer never
                                                                                            15   responded to either letter.
                                                                                            16           54.     Sweitzer chose to infringe Sugarfina’s patent, copyright, trade dress,
                                                                                            17   and trademark rights through the design, packaging and promotion of its candy
                                                                                            18   products, and it did so willfully—with actual knowledge—to trade upon the
                                                                                            19   goodwill that Sugarfina has developed in connection with its luxury branded
                                                                                            20   products.
                                                                                            21                            Infringement of Sugarfina’s Patent
                                                                                            22           55.     Sugarfina has been selling its designer eight-cube candy bento boxes
                                                                                            23   long before Sweitzer. An example is shown below.
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                                                                                                         56.    In 2014, Sugarfina filed a design patent application covering its
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                                                                                                 unique packaging, such as the packaging shown above. That design patent
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                                                                                                 application issued on May 10, 2016, as U.S. Design Patent No. D755,641 (the ’641
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                                                                                                 Patent), and is titled “Packaging.”
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                                                            I R V I N E , C A 92614-2545




                                                                                                         57.    The ’641 Patent claims “[t]he ornamental design for a packaging, as
                          5 PAR K PLA ZA
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                                                                                            13
                                                                                                 shown and described” in the patent. FIG. 1 of the ’641 Patent is reproduced below.
                                                                                            14
                                                                                                 FIG. 1 depicts an exploded perspective view of the patented design.
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                                                                                             1           58.    FIG. 2 of the ’641 Patent is reproduced below. FIG. 2 depicts a
                                                                                             2   perspective view of the patented design.
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                                                                                            12           59.    FIGS. 3–4 of the ’641 Patent are reproduced below. FIG. 3 depicts a
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                                                                                            13   front view of the patented design. FIG. 4 depicts a rear view of the patented design.
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                                                                                                         60.    FIG. 5 of the ’641 Patent is reproduced below. FIG. 5 depicts a top
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                                                                                                 view of the patented design.
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                                                                                                         61.   FIG. 6 of the ’641 Patent is reproduced below. FIG. 6 depicts a side
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                                                                                                 view of the patented design.
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                                                            I R V I N E , C A 92614-2545
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                                                                                            17           62.   On information and belief, Sweitzer began marketing a copycat
                                                                                            18   product after issuance of the ’641 patent, a sample of which is shown below.
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                                                                                             1           63.    An ordinary observer of Sweitzer’s candy packaging and Sugarfina’s
                                                                                             2   patented design, giving such attention that a candy purchaser usually gives, would
                                                                                             3   find the two designs to be substantially the same. The ’641 Patent claims a
                                                                                             4   packaging including transparent cubes arranged in three-by-three cells spaced apart
                                                                                             5   and nested within a rectangular box with high, straight walls, having a top, and
                                                                                             6   omitting a transparent cube from the center of the arrayed arrangement. As shown
                                                                                             7   above, Sweitzer’s design also includes transparent cubes arranged in three-by-three
                                                                                             8   cells spaced apart and nested within a rectangular box with high, straight walls,
                                                                                             9   having a top, and omitting a transparent cube from the center of the arrayed
                                                                                            10   arrangement. An ordinary observer would recognize that Sweitzer’s design is
                                                                                            11   substantially the same as the patented design in the ’641 Patent. The overall
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                                                                                            12   impression of the two designs is substantially the same.
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                                                                                            13           64.    Further, an ordinary observer, familiar with the prior art, would be
                                                                                            14   deceived into believing that Sweitzer’s design is the same as the design patented in
                                                                                            15   the ’641 Patent. Of the many prior art candy packaging types, an ordinary observer
                                                                                            16   would recognize that none of the prior art candy packaging types include, for
                                                                                            17   instance, the three-by-three cells of transparent cubes spaced apart and nested
                                                                                            18   within a rectangular box with high, straight walls, having a top, and omitting a
                                                                                            19   transparent cube from the center of the arrayed arrangement, as patented in the ’641
                                                                                            20   Patent.
                                                                                            21           65.    Indeed, it is axiomatic that the ’641 Patent is infringed by Sweitzer’s
                                                                                            22   design because in the eye of an ordinary observer, the Sweitzer design is
                                                                                            23   substantially the same as the claimed design in the ’641 Patent.
                                                                                            24                        Infringement of Sugarfina’s Copyrights
                                                                                            25           66.    In addition to the aforementioned design patent protections,
                                                                                            26   Sugarfina also has copyright protections for its three-piece designer candy boxes
                                                                                            27   and its designer candy bento boxes at Reg. Nos. VA0001963482 and
                                                                                            28   VA0001963483.

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                                                                                             1           67.    Sweitzer has had access to the copyrighted candy boxes because
                                                                                             2   Sugarfina has been selling and marketing them to the public, in the same industry
                                                                                             3   and using the same marketing channels as Sweitzer, since at least as early as 2013.
                                                                                             4           68.    In a blatant attempt to copy Sugarfina, Sweitzer designed and
                                                                                             5   developed near exact imitations of Sugarfina’s registered works.
                                                                                             6           69.     After Sugarfina introduced its designer products, Sweitzer began
                                                                                             7   actively selling these infringing products to retailers and unwitting consumers.
                                                                                             8   Sweitzer’s infringing products are strikingly similar imitations of Sugarfina’s
                                                                                             9   protected products. Sweitzer copied all the original and distinctive qualities of
                                                                                            10   Sugarfina’s products, including the configuration of eight, four, or three cells of
                                                                                            11   transparent cubes spaced apart and nested fully within a rectangular box with high,
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                                                                                            12   straight walls; the use of a die-cut labels on the clear cubes within the outer box;
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                                                                                            13   and specific graphic elements designed by Sugarfina, such as the prints, patterns,
                                                                                            14   and colors imprinted on the boxes and labels.
                                                                                            15           70.    Sweitzer has no license from Sugarfina to make replicas of
                                                                                            16   Sugarfina’s registered original works. On the contrary, at least as early as May 22,
                                                                                            17   2017, Sugarfina demanded that Sweitzer cease its infringing activities. Sweitzer
                                                                                            18   refused to comply and continued knowingly and willfully to create, market, and
                                                                                            19   distribute products infringing Sugarfina’s copyrights.
                                                                                            20                              FIRST CLAIM FOR RELIEF
                                                                                            21                               (Trade Dress Infringement)
                                                                                            22                    (Lanham Act Section 43(a), 15 U.S.C. § 1125(a))
                                                                                            23           71.    Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                            24   Complaint as though set forth in full.
                                                                                            25           72.    Sugarfina is the owner of all right and title to the distinctive
                                                                                            26   Sugarfina Trade Dress. The Sugarfina Trade Dress, as embodied in Sugarfina
                                                                                            27   products, has acquired secondary meaning, and is not functional. In addition, the
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                                                                                             1   Sugarfina Trade Dress, embodied in the packaging for the Sugarfina products, is
                                                                                             2   inherently distinctive and not functional.
                                                                                             3           73.    In addition, based on extensive and consistent advertising, promotion
                                                                                             4   and sales throughout the United States, the Sugarfina Trade Dress has acquired
                                                                                             5   distinctiveness and enjoys secondary meaning among consumers, identifying
                                                                                             6   Sugarfina as the source of these products.
                                                                                             7           74.    Sugarfina’s extensive promotion of the distinctive Sugarfina Trade
                                                                                             8   Dress has resulted in Sugarfina’s acquisition of valuable, legally protected rights in
                                                                                             9   the Sugarfina Trade Dress as well as considerable customer goodwill.
                                                                                            10           75.    Sweitzer’s line of products has misappropriated the Sugarfina Trade
                                                                                            11   Dress by mimicking a combination of several elements of that trade dress. The
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                                                                                            12   manufacture and distribution of Sweitzer products with packaging and product
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                                                                                            13   design features that mimic a combination of several elements of the Sugarfina
                                                                                            14   Trade Dress is likely to cause confusion, or to cause mistake, or to deceive the
                                                                                            15   consumer as to the affiliation, connection or association of Sweitzer with Sugarfina,
                                                                                            16   or as to the origin, sponsorship, or approval by Sugarfina of Sweitzer’s goods,
                                                                                            17   services or commercial activities.
                                                                                            18           76.    Sweitzer’s actions constitute unfair competition and false
                                                                                            19   designation of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C.
                                                                                            20   §1125(a).
                                                                                            21           77.    At least as early as May 22, 2017, Sweitzer knew of the Sugarfina
                                                                                            22   Trade Dress when it designed its products, and has refused to change its product or
                                                                                            23   packaging design in response to Sugarfina’s request. Accordingly, Sweitzer’s
                                                                                            24   infringement has been and continues to be intentional, willful and without regard to
                                                                                            25   the Sugarfina Trade Dress.
                                                                                            26           78.    As a direct and proximate result of Sweitzer’s unlawful acts and
                                                                                            27   practices, including those set forth above, Sweitzer has caused, is causing, and
                                                                                            28   unless immediately enjoined by this Court, will continue to cause immediate and

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                                                                                             1   irreparable harm to Sugarfina, for which there is no adequate remedy at law, and for
                                                                                             2   which it is entitled to injunctive relief.
                                                                                             3            79.       Sugarfina is informed and believes, and on that basis alleges, that
                                                                                             4   Sweitzer has gained profits by virtue of its infringement of the Sugarfina Trade
                                                                                             5   Dress.
                                                                                             6            80.       Sugarfina also has sustained damages as a direct and proximate
                                                                                             7   result of Sweitzer’s infringement of the Sugarfina Trade Dress in an amount to be
                                                                                             8   proven at trial.
                                                                                             9            81.       Because Sweitzer’s actions have been willful, Sugarfina is entitled to
                                                                                            10   treble its actual damages or Sweitzer’s profits, whichever is greater, and to an
                                                                                            11   award of costs, and, this being an exceptional case, reasonable attorneys’ fees
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                                                                                            12   pursuant to 15 U.S.C. § 1117(a).
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                                                                                            13                               SECOND CLAIM FOR RELIEF
                                                                                            14                              (Federal Trademark Infringement)
                                                                                            15                                        (15 U.S.C. § 1114)
                                                                                            16            82.   Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                            17   Complaint as though set forth in full.
                                                                                            18            83.   Sugarfina owns a federal trademark registration for the distinctive
                                                                                            19   naming of its CANDY BENTO BOX®.
                                                                                            20            84.   Sweitzer has infringed the CANDY BENTO BOX® mark by using
                                                                                            21   confusing similar names in connection with its products.
                                                                                            22            85.   Sweitzer’s use of names infringing on the CANDY BENTO BOX®
                                                                                            23   mark is likely to cause confusion, or to cause mistake, or to deceive the consumer
                                                                                            24   as to the affiliation, connection or association of Sweitzer with Sugarfina, or as to
                                                                                            25   the origin, sponsorship, or approval by Sugarfina of Sweitzer’s goods, services or
                                                                                            26   commercial activities.
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                                                                                             1           86.   Sweitzer’s use of names infringing on the CANDY BENTO BOX®
                                                                                             2   mark enables Sweitzer to benefit unfairly from Sugarfina’s reputation and success,
                                                                                             3   thereby giving Sweitzer sales and commercial value it otherwise would not have.
                                                                                             4           87.   Before Sweitzer’s first use of the infringing names, Sweitzer was
                                                                                             5   aware of Sugarfina’s business and had either actual notice and knowledge, or
                                                                                             6   constructive notice of, Sugarfina’s registered trademarks, including CANDY
                                                                                             7   BENTO BOX®.
                                                                                             8           88.   Sweitzer’s unauthorized use of names infringing on the CANDY
                                                                                             9   BENTO BOX® mark is likely, if not certain, to deceive or to cause confusion or
                                                                                            10   mistake among consumers as to the origin, sponsorship or approval of Sweitzer’s
                                                                                            11   products and/or to cause confusion or mistake as to any affiliation, connection or
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                                                                                            12   association between Sugarfina and Sweitzer, in violation of 15 U.S.C. § 1114(a).
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                                                                                            13           89.   Sugarfina is informed and believes, and on that basis alleges, that
                                                                                            14   Sweitzer’s infringement of Sugarfina’s registered trademark CANDY BENTO
                                                                                            15   BOX® as described herein has been and continues to be intentional, willful and
                                                                                            16   without regard to Sugarfina’s rights.
                                                                                            17           90.   Sugarfina is informed and believes, and on that basis alleges, that
                                                                                            18   Sweitzer has gained profits by virtue of its infringement of Sugarfina’s registered
                                                                                            19   trademark CANDY BENTO BOX®.
                                                                                            20           91.   Sugarfina will suffer and is suffering irreparable harm from Sweitzer’s
                                                                                            21   infringement of the registered trademark CANDY BENTO BOX® insofar as
                                                                                            22   Sugarfina’s invaluable goodwill is being eroded by continuing infringement.
                                                                                            23           92.   Sugarfina has no adequate remedy at law to compensate it for the loss
                                                                                            24   of business reputation, customers, market position, confusion of potential customers
                                                                                            25   and goodwill flowing from Sweitzer’s infringing activities. Pursuant to 15 U.S.C. §
                                                                                            26   1116, Sugarfina is entitled to an injunction against Sweitzer’s continuing
                                                                                            27   infringement of Sugarfina’s registered trademark CANDY BENTO BOX®. Unless
                                                                                            28   enjoined, Sweitzer will continue its infringing conduct.

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                                                                                             1           93.    Because Sweitzer’s actions have been committed with intent to
                                                                                             2   damage Sugarfina and to confuse and deceive the public, Sugarfina is entitled to
                                                                                             3   treble its actual damages or Sweitzer’s profits, whichever is greater, and to an
                                                                                             4   award of costs and, this being an exceptional case, reasonable attorneys’ fees
                                                                                             5   pursuant to 15 U.S.C. § 1117(a) and § 1117(b).
                                                                                             6                              THIRD CLAIM FOR RELIEF
                                                                                             7                        (Common Law Trademark Infringement)
                                                                                             8                     (Lanham Act Section 43(a), 15 U.S.C. § 1125(a))
                                                                                             9           94.     Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                            10   Complaint as though set forth in full.
                                                                                            11           95.     Sugarfina has prior rights in Sugarfina’s unregistered marks,
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                                                                                            12   including CANDY CUBE™.
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                                                                                            13           96.     Sweitzer’s product lineup has infringed Sugarfina’s common law
                                                                                            14   marks by using identical or similar names in Sweitzer’s products.
                                                                                            15           97.     Sweitzer’s use of its infringing naming convention is likely to cause
                                                                                            16   confusion, or to cause mistake, or to deceive the consumer as to the affiliation,
                                                                                            17   connection or association of Sweitzer with Sugarfina, or as to the origin,
                                                                                            18   sponsorship, or approval by Sugarfina of Sweitzer’s goods, services or commercial
                                                                                            19   activities.
                                                                                            20           98.     Sweitzer’s use of the infringing product lineup enables Sweitzer to
                                                                                            21   benefit unfairly from Sugarfina’s reputation and success, thereby giving Sweitzer’s
                                                                                            22   infringing products sales and commercial value they would not have otherwise.
                                                                                            23           99.     Prior to Sweitzer’s first use of the infringing mark, Sweitzer was
                                                                                            24   aware of Sugarfina’s business and had either actual notice and knowledge, or
                                                                                            25   constructive notice of Sugarfina’s common law marks, including CANDY
                                                                                            26   CUBE™.
                                                                                            27           100.    Sweitzer’s unauthorized use of the infringing mark is likely, if not
                                                                                            28   certain, to deceive or to cause confusion or mistake among consumers as to the

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                                                                                             1   origin, sponsorship or approval of Sweitzer’s products and/or to cause confusion or
                                                                                             2   mistake as to any affiliation, connection or association between Sugarfina and
                                                                                             3   Sweitzer, in violation of 15 U.S.C. § 1125(a).
                                                                                             4           101.   Sugarfina is informed and believes, and on that basis alleges, that
                                                                                             5   Sweitzer’s infringement of Sugarfina’s common law mark CANDY CUBE™, as
                                                                                             6   described herein, has been and continues to be intentional, willful and without
                                                                                             7   regard to Sugarfina’s rights in its common law marks.
                                                                                             8           102.   Sugarfina is informed and believes, and on that basis alleges, that
                                                                                             9   Sweitzer has gained profits by virtue of its infringement of Sugarfina’s common
                                                                                            10   law mark CANDY CUBE™.
                                                                                            11           103.   Sugarfina will suffer and is suffering irreparable harm from
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                                                                                            12   Sweitzer’s infringement of Sugarfina’s common law marks insofar as Sugarfina’s
                                                            I R V I N E , C A 92614-2545
                          5 PAR K PLA ZA
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                                                                                            13   invaluable goodwill is being eroded by Sweitzer’s continuing infringement.
                                                                                            14   Sugarfina has no adequate remedy at law to compensate it for the loss of business
                                                                                            15   reputation, customers, market position, confusion of potential customers and
                                                                                            16   goodwill flowing from the Sweitzer’s infringing activities.
                                                                                            17           104.   Sugarfina is entitled to an injunction against Sweitzer’s continuing
                                                                                            18   infringement of Sugarfina’s common law mark CANDY CUBE™. Unless
                                                                                            19   enjoined, Sweitzer will continue its infringing conduct.
                                                                                            20           105.   Because Sweitzer’s actions have been committed with intent to
                                                                                            21   damage Sugarfina and to confuse and deceive the public, Sugarfina is entitled to
                                                                                            22   treble its actual damages or Sweitzer’s profits, whichever is greater, and to an
                                                                                            23   award of costs and, this being an exceptional case, reasonable attorneys’ fees
                                                                                            24   pursuant to 15 U.S.C. § 1117(a) and § 1117(b).
                                                                                            25   ///
                                                                                            26   ///
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                                                                                             1                            FOURTH CLAIM FOR RELIEF
                                                                                             2        (Unfair Business Practices – California Business and Professions Code §
                                                                                             3                                       17200, et seq.)
                                                                                             4           106.    Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                             5   Complaint as though set forth in full.
                                                                                             6           107.    The acts of Sweitzer described above constitute fraudulent and
                                                                                             7   unlawful business practices as defined by California Business & Professions Code
                                                                                             8   § 17200, et seq.
                                                                                             9           108.    Sugarfina has valid and protectable prior rights in the Sugarfina
                                                                                            10   Trade Dress and trademarks. The Sugarfina Trade Dress identifies Sugarfina as the
                                                                                            11   source of its candy products. The Sugarfina Trade Dress is inherently distinctive,
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                                                                                            12   and, through Sugarfina’s long use, has come to be associated solely with Sugarfina
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                                                                                            13   as the source of the products on which it is used.
                                                                                            14           109.    Sweitzer’s use of the infringing trade dress and marks is likely to
                                                                                            15   cause confusion as to the source of Sweitzer’s products and is likely to cause others
                                                                                            16   to be confused or mistaken into believing that there is a relationship between
                                                                                            17   Sweitzer and Sugarfina or that Sweitzer’s products are affiliated with or sponsored
                                                                                            18   by Sugarfina.
                                                                                            19           110.    The above-described acts and practices by Sweitzer are likely to
                                                                                            20   mislead or deceive the general public and therefore constitute fraudulent business
                                                                                            21   practices in violation of California Business & Professions Code §§ 17200, et seq.
                                                                                            22           111.    The above-described acts constitute unfair competition and trade
                                                                                            23   dress and trademark infringement under Section 43(a) of the Lanham Act, 15
                                                                                            24   U.S.C. § 1125(a), and trademark infringement under Section 32 of the Lanham Act,
                                                                                            25   15 U.S.C. § 1114, and are therefore unlawful acts in violation of California
                                                                                            26   Business & Professions Code §§ 17200, et seq.
                                                                                            27           112.    Sweitzer acted willfully and intentionally in designing its infringing
                                                                                            28   trade dress and product packaging, with full knowledge of Sugarfina’s prior rights

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                                                                                             1   in the distinctive Sugarfina Trade Dress, its registered trademarks, and its common
                                                                                             2   law trademarks, and with an intent to cause confusion or mistake or to deceive
                                                                                             3   customers into believing that there is an affiliation between Sweitzer and Sugarfina
                                                                                             4   or between Sweitzer’s products and Sugarfina’s products.
                                                                                             5           113.   The unlawful and fraudulent business practices of Sweitzer described
                                                                                             6   above present a continuing threat to, and is meant to deceive members of, the public
                                                                                             7   in that Sweitzer desires to promote its products by wrongfully trading on the
                                                                                             8   goodwill of the Sugarfina Trade Dress, Sugarfina’s registered trademarks, and its
                                                                                             9   common law trademarks.
                                                                                            10           114.   As a direct and proximate result of these acts, Sweitzer has received,
                                                                                            11   and will continue to profit from, the strength of the Sugarfina Trade Dress,
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                                                                                            12   Sugarfina’s registered trademarks, and its common law trademarks.
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                                                                                            13           115.   As a direct and proximate result of Sweitzer’s wrongful conduct,
                                                                                            14   Sugarfina has been injured in fact and has lost money and profits, and such harm
                                                                                            15   will continue unless Sweitzer’s acts are enjoined by the Court.
                                                                                            16           116.   Sugarfina has no adequate remedy at law for Sweitzer’s continuing
                                                                                            17   violation of Sugarfina’s rights.
                                                                                            18           117.   Sweitzer should be required to restore to Sugarfina any and all
                                                                                            19   profits earned as a result of their unlawful and fraudulent actions, or provide
                                                                                            20   Sugarfina with any other restitutionary relief as the Court deems appropriate.
                                                                                            21                             FIFTH CLAIM FOR RELIEF
                                                                                            22                            (Infringement of the ’641 Patent)
                                                                                            23                                      (35 U.S.C. § 271)
                                                                                            24           118.   Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                            25   Complaint as though set forth in full.
                                                                                            26           119.   Sweitzer has infringed and continues to infringe the ’641 Patent
                                                                                            27   under 35 U.S.C. § 271(a) by using, selling and/or offering to sell in the United
                                                                                            28   States, and/or importing into the United States one or more of Sweitzer’s infringing

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                                                                                             1   products identified in this Complaint, which embody the design covered by the
                                                                                             2   ’641 Patent.
                                                                                             3            120.   On information and belief, Sweitzer’s infringement of the ’641
                                                                                             4   Patent has taken place with full knowledge of the patent and is willful, deliberate,
                                                                                             5   and intentional, and therefore gives rise to an exceptional case under 35 U.S.C. §
                                                                                             6   285.
                                                                                             7            121.   Sweitzer’s infringement of one or more claims of the ’641 Patent has
                                                                                             8   injured Sugarfina, the precise amount of which cannot be ascertained at this time.
                                                                                             9   Sugarfina is entitled to recover damages adequate to compensate for Sweitzer’s
                                                                                            10   infringement, which in no event can be less than a reasonable royalty.
                                                                                            11            122.   Sweitzer has caused Sugarfina substantial damages and irreparable
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                                                                                            12   injury by its infringement of one or more claims of the ’641 Patent, for which there
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                                                                                            13   is no adequate remedy at law. Sugarfina will continue to suffer damages and
                                                                                            14   irreparable injury unless and until Sweitzer’s infringement is enjoined by this
                                                                                            15   Court.
                                                                                            16                             SIXTH CLAIM FOR RELIEF
                                                                                            17                                (Copyright Infringement)
                                                                                            18                                (17 U.S.C. §§ 101, et. seq.)
                                                                                            19            123.   Sugarfina incorporates and realleges the preceding paragraphs of this
                                                                                            20   Complaint as though set forth in full.
                                                                                            21            124.   Sugarfina is the owner of exclusive rights under copyright with
                                                                                            22   respect to the three-piece designer candy box and the designer candy bento box,
                                                                                            23   Reg. Nos. VA0001963482 and VA0001963483.
                                                                                            24            125.   Sugarfina has never granted to Sweitzer any license to make or
                                                                                            25   market any unauthorized copies of, or derivative works based on, Sugarfina’s
                                                                                            26   products or registered works.
                                                                                            27            126.   By means of the actions complained of herein, Sweitzer has
                                                                                            28   infringed and will continue to infringe Sugarfina’s copyright in and relating to its

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                                                                                             1   registered works under 17 U.S.C. §§ 101, et. seq. by creating, reproducing,
                                                                                             2   distributing, selling, and/or offering for sale infringing products and product
                                                                                             3   packaging containing strikingly similar reproductions of the registered works
                                                                                             4   without authorization from Sugarfina.
                                                                                             5           127.     Sugarfina is entitled to an injunction restraining Sweitzer, and all
                                                                                             6   persons acting in concert with it, from engaging in further acts in violation of the
                                                                                             7   copyright laws.
                                                                                             8           128.     Sugarfina is further entitled to recover from Sweitzer the damages
                                                                                             9   Sugarfina has sustained, and will sustain, as a result of Sweitzer’s wrongful acts in
                                                                                            10   an amount to be proven at trial. Sugarfina is further entitled to recover from
                                                                                            11   Sweitzer any gains, profits, and advantages Sweitzer has obtained as a result of its
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                                                                                            12   wrongful acts.
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                                                                                            13           129.     Sugarfina is also entitled to damages, pursuant to the Copyright Act
                                                                                            14   of 1976, 17 U.S.C. §§ 101, et. seq., for Sweitzer’s willful and continued
                                                                                            15   infringement of the registered works and attorneys’ fees.
                                                                                            16                                      PRAYER FOR RELIEF
                                                                                            17           WHEREFORE, Sugarfina prays for relief, as follows:
                                                                                            18           1.     A judgment that Sweitzer infringed one or more claims of
                                                                                            19   Sugarfina’s asserted patent;
                                                                                            20           2.     An order and judgment preliminarily and permanently enjoining
                                                                                            21   Sweitzer and its officers, directors, agents, servants, employees, affiliates,
                                                                                            22   attorneys, and all others acting in privity or in concert with it, and its parents,
                                                                                            23   subsidiaries, divisions, successors and assigns, from further acts of infringement
                                                                                            24   of Sugarfina’s asserted patent;
                                                                                            25           3.     A judgment awarding Sugarfina all damages adequate to
                                                                                            26   compensate for Sweitzer’s infringement of Sugarfina’s asserted patent, and in no
                                                                                            27   event less than a reasonable royalty for Sweitzer’s acts of infringement, including
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                                                                                             1   all pre-judgment and post-judgment interest at the maximum rate permitted by
                                                                                             2   law;
                                                                                             3           4.    A judgment awarding Sugarfina all damages, including treble
                                                                                             4   damages, based on any infringement found to be willful, pursuant to 35 U.S.C.
                                                                                             5   § 284, together with prejudgment interest;
                                                                                             6           5.    An order preliminarily and permanently enjoining Sweitzer and its
                                                                                             7   officers, directors, agents, servants, employees, affiliates, attorneys, and all others
                                                                                             8   acting in privity or in concert with it, and its parents, subsidiaries, divisions,
                                                                                             9   successors and assigns, from directly or indirectly infringing the Sugarfina Trade
                                                                                            10   Dress, Sugarfina’s registered trademarks, Sugarfina’s unregistered common law
                                                                                            11   trademarks, or using any other product or packaging design or designations similar
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                                                                                            12   to or likely to cause confusion with the Sugarfina Trade Dress and Sugarfina’s
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                                                                                            13   registered or unregistered common law trademarks; from passing off Sweitzer’s
                                                                                            14   products as being associated with and or sponsored or affiliated with Sugarfina;
                                                                                            15   from committing any other unfair business practices directed toward obtaining for
                                                                                            16   itself the business and customers of Sugarfina; and from committing any other
                                                                                            17   unfair business practices directed toward devaluing or diminishing the brand or
                                                                                            18   business of Sugarfina.
                                                                                            19           6.    Actual damages suffered by Sugarfina as a result of Sweitzer’s
                                                                                            20   unlawful conduct, in an amount to be proven at trial, as well as prejudgment
                                                                                            21   interest as authorized by law;
                                                                                            22           7.    Reasonable funds for future corrective advertising;
                                                                                            23           8.    An accounting of Sweitzer’s profits pursuant to 15 U.S.C. § 1117;
                                                                                            24           9.    A judgment trebling any damages award pursuant to 15 U.S.C.
                                                                                            25   § 1117;
                                                                                            26           10.   Punitive damages pursuant to California Civil Code § 3294;
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                                                                                             1             11.      Restitutionary relief against Sweitzer and in favor of Sugarfina,
                                                                                             2   including disgorgement of wrongfully obtained profits and any other appropriate
                                                                                             3   relief;
                                                                                             4             12.      Costs of suit and reasonable attorneys’ fees, including, but not limited
                                                                                             5   to, a finding that this case is exceptional and awarding attorneys’ fees and costs
                                                                                             6   pursuant to 35 U.S.C. § 285; and
                                                                                             7             13.      Any other remedy to which Sugarfina may be entitled, including all
                                                                                             8   remedies provided for in 15 U.S.C. § 1117, Cal. Bus. & Prof Code §§ 17200, et
                                                                                             9   seq., 17500, et seq., and under any other California law.
                                                                                            10
                                                                                            11   Dated:          October 31, 2017               TROUTMAN SANDERS LLP
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                                                                                            13                                                  By: /s/ Jennifer Trusso Salinas
                                                                                                                                                   Jennifer Trusso Salinas
                                                                                            14                                                     Jenny Kim
                                                                                                                                                   Attorneys for Plaintiff
                                                                                            15                                                     SUGARFINA, INC.
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                                                                                             1                               DEMAND FOR JURY TRIAL
                                                                                             2
                                                                                                         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands
                                                                                             3
                                                                                                 a trial by jury of all triable issues.
                                                                                             4
                                                                                             5   Dated:       October 31, 2017              TROUTMAN SANDERS LLP
                                                                                             6
                                                                                             7                                              By: /s/ Jennifer Trusso Salinas
                                                                                                                                               Jennifer Trusso Salinas
                                                                                             8                                                 Andre De La Cruz
                                                                                                                                               Jenny Kim
                                                                                             9                                                 Attorneys for Plaintiff
                                                                                                                                               SUGARFINA, INC.
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